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                           UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF Oregon
              Form 1. Notice of Appeal from a Judgment or Order of a
                            United States District Court

U.S. District Court case number: 3:22-cv-00573-HZ
      Notice is hereby given that the appellant(s) listed below hereby appeal(s) to
the United States Court of Appeals for the Ninth Circuit.

Date case was first filed in U.S. District Court: April 18, 2022

Date of judgment or order you are appealing: January 3, 2023

Docket entry number of judgment or order you are appealing: 30
Fee paid for appeal? (appeallees are paid at the U.S. District Court)
(i Yes          No       C IFP was granted by U.S. District Court

List all Appellants (List each party filing the appeal. Do not use "et al." or other abbreviations.)
Legacy Health; Legacy Good Samaritan Hospital and Medical Center; Legacy
Mount Hood Medical Center; Legacy Meridian Park Hospital dba Legacy
Meridian Park Medical Center; Legacy Emanuel Hospital & Health Center dba
Legacy Emanuel Medical Center
Is this a cross-appeal? C Yes                 r No
If yes, what is the first appeal case number? n/a
Was there a previous appeal in this case? C Yes                          ri No
If yes, what is the prior appeal case number? n/a
Your mailing address (if pro se):
n/a



City:                                          State:                  Zip Code:

Prisoner Inmate or A Number (if applicable): n/a

Signature /s/ Richard C. Hunt                                            Date January 17, 2023
      Complete andfile with the attached representation statement in the U.S. District Court
                     Feedback or questions about this farm? Email us at,tbrms@ca9.uscourts.gov

Form 1                                                                                           Rev. 06/09/2022
